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             EXHIBIT 20
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From: Barrington, Degan J (NYC) <Degan.Barrington@skadden.com>
Sent: Wednesday, June 25, 2025 9:32 AM
To: Valve SASMF Team DL <DLVALVEST@skadden.com>
Cc: Franco Choi, Sarah (NYC) <Sarah.FrancoChoi@skadden.com>; Koury, Catherine A (NYC)
<Catherine.Koury@skadden.com>
Subject: FW: [Ext] RE: Individual Claimants v. Valve - Case 01-23-0005-8758

From: AAA Cheryl Florio <CherylFlorio@adr.org>
Sent: Wednesday, June 25, 2025 11:35 AM
To: McInerney, Colm P (NYC) <Colm.McInerney@skadden.com>; 'Theo Bell' <tbell@masonllp.com>; McTigue Jr.,
Michael W (NYC) <Michael.McTigue@skadden.com>; Slawe, Meredith C (NYC) <Meredith.Slawe@skadden.com>; Fuchs,
Andrew J (HOU) <Andrew.Fuchs@skadden.com>; 'AAAFiling@valvesoftware.com' <aaafiling@valvesoftware.com>;
Tavakoli, Shaud G (NYC) <Shaud.Tavakoli@skadden.com>; 'Gary Mason' <gmason@masonllp.com>; Jacob Eisenberg
<jeisenberg@masonllp.com>; Danielle Perry <dperry@masonllp.com>; Mari Gribble <mgribble@masonllp.com>
Cc: AAA Cheryl Florio <CherylFlorio@adr.org>
Subject: [Ext] RE: Individual Claimants v. Valve - Case 01-23-0005-8758

Dear Counsel,

The AAA is in receipt of Claimants’ letter with attachments dated June 20, 2025 and Respondent’s letter dated
June 23, 2025.

This will confirm these matters, including the Lally matter, remain stayed in accordance with our
correspondence dated May 15, 2025.

Thank you,



                     AAA Cheryl Florio
                     Director of ADR Operations

                     American Arbitration Association
                     16 Market Square 1400 16th Street, Suite 400, Denver, CO 80202
                     T : 401 431 4779 F: 866 644 0234 E: CherylFlorio@adr.org
                     adr.org | icdr.org | aaaicdrfoundation.org
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in error, please notify me immediately by reply email and destroy all copies of the transmittal. Thank you.

From: McInerney, Colm P <Colm.McInerney@skadden.com>
Sent: Monday, June 23, 2025 12:30 PM
To: 'Theo Bell' <tbell@masonllp.com>; AAA Cheryl Florio <CherylFlorio@adr.org>; McTigue Jr., Michael W
<Michael.McTigue@skadden.com>; Slawe, Meredith C <Meredith.Slawe@skadden.com>; Fuchs, Andrew J
<Andrew.Fuchs@skadden.com>; 'AAAFiling@valvesoftware.com' <aaafiling@valvesoftware.com>; Tavakoli, Shaud G
                                                                                    1
                                                                                                                                                   Case 2:21-cv-00563-JNW                                                                                  Document 471-20   Filed 06/26/25   Page 3 of 6
<Shaud.Tavakoli@skadden.com>
Cc: Gary Mason <gmason@masonllp.com>; Jacob Eisenberg <jeisenberg@masonllp.com>; Danielle Perry
<dperry@masonllp.com>; Mari Gribble <mgribble@masonllp.com>
Subject: RE: Individual Claimants v. Valve - Case 01-23-0005-8758
Ms. Fl orio, Pleas e see the attached letter sent on behal f of Valve regarding the above-re fer enced matters. Colm Fr om: Theo Be ll <tbell@"m asonllp."c om > Sent: Friday, June 20, 2 025 9:"47 PM To: AAA Cheryl Florio <CherylFlori o@"adr."org >;
ZjQcmQR YFpfptBa nnerStart




              *** External E-Mail – Use Caution ***
ZjQcmQR YFpfptBa nner End




Ms. Florio,



Please see the attached letter sent on behalf of Valve regarding the above-referenced matters.



Colm




From: Theo Bell <tbell@masonllp.com>
Sent: Friday, June 20, 2025 9:47 PM
To: AAA Cheryl Florio <CherylFlorio@adr.org>; McInerney, Colm P (NYC) <Colm.McInerney@skadden.com>; McTigue Jr.,
Michael W (NYC) <Michael.McTigue@skadden.com>; Slawe, Meredith C (NYC) <Meredith.Slawe@skadden.com>; Fuchs,
Andrew J (HOU) <Andrew.Fuchs@skadden.com>; 'AAAFiling@valvesoftware.com' <aaafiling@valvesoftware.com>;
Tavakoli, Shaud G (NYC) <Shaud.Tavakoli@skadden.com>
Cc: Gary Mason <gmason@masonllp.com>; Jacob Eisenberg <jeisenberg@masonllp.com>; Danielle Perry
<dperry@masonllp.com>; Mari Gribble <mgribble@masonllp.com>; Theo Bell <tbell@masonllp.com>
Subject: [Ext] Re: Individual Claimants v. Valve - Case 01-23-0005-8758

Dear Ms. Florio,

Please see attached letter, with attachments, from Gary E. Mason to AAA on behalf of Claimants in the above
captioned matter.

Best regards,

Theo Bell


Theodore B. Bell
202.640-1169 | tbell@masonllp.com

MASON LLP
5335 Wisconsin Avenue, N.W. Suite 640 Washington, D.C. 20015-2052
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From: AAA Cheryl Florio <CherylFlorio@adr.org>
Sent: Friday, June 20, 2025 2:15 PM
To: McInerney, Colm P <Colm.McInerney@skadden.com>; AAA Cheryl Florio <CherylFlorio@adr.org>
Cc: Gary Mason <gmason@masonllp.com>; Jacob Eisenberg <jeisenberg@masonllp.com>; Theo Bell
<tbell@masonllp.com>; Danielle Perry <dperry@masonllp.com>; Mari Gribble <mgribble@masonllp.com>; McTigue Jr.,
Michael W <Michael.McTigue@skadden.com>; Slawe, Meredith C <Meredith.Slawe@skadden.com>; Tavakoli, Shaud G
<Shaud.Tavakoli@skadden.com>; Fuchs, Andrew J <Andrew.Fuchs@skadden.com>; AAAFiling@valvesoftware.com
<AAAFiling@valvesoftware.com>
Subject: RE: Lally v. Valve Corp. - Case 01-23-0005-8758


Dear Counsel,



This will acknowledge receipt of the attached letter.



We request comments from Claimant on or before June 27, 2025.



Sincerely,



Cheryl




                     AAA Cheryl Florio
                     Director of ADR Operations

                     American Arbitration Association
                     16 Market Square 1400 16th Street, Suite 400, Denver, CO 80202
                     T : 401 431 4779 F: 866 644 0234 E: CherylFlorio@adr.org
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                                                                                                                                              Case 2:21-cv-00563-JNW                                                                                             Document 471-20   Filed 06/26/25   Page 5 of 6

From: McInerney, Colm P <Colm.McInerney@skadden.com>
Sent: Wednesday, June 18, 2025 12:37 PM
To: AAA Cheryl Florio <CherylFlorio@adr.org>
Cc: 'Gary Mason' <gmason@masonllp.com>; Jacob Eisenberg <jeisenberg@masonllp.com>; Theo Bell
<tbell@masonllp.com>; Danielle Perry <dperry@masonllp.com>; Mari Gribble
<mgribble@masonllp.com>; McTigue Jr., Michael W <Michael.McTigue@skadden.com>; Slawe,
Meredith C <Meredith.Slawe@skadden.com>; Tavakoli, Shaud G <Shaud.Tavakoli@skadden.com>;
Fuchs, Andrew J <Andrew.Fuchs@skadden.com>; AAAFiling@valvesoftware.com
Subject: Lally v. Valve Corp. - Case 01-23-0005-8758


Ms. Fl orio, Pleas e see the attached letter sent on behal f of Valve regarding the above-re fer enced matters. Colm Colm P. McI ner ney Counsel Skadden, Arps, Slate, Meag her & Fl om LLP One Manhattan West | New York | NY | 100 01 T: +1."212."735."2 498




ZjQcmQR YFpfptBa nnerStart




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Ms. Florio,



Please see the attached letter sent on behalf of Valve regarding the above-referenced matters.



Colm




Colm P. McInerney
Counsel


Skadden, Arps, Slate, Meagher & Flom LLP


One Manhattan West | New York | NY | 10001
T: +1.212.735.2498 | F: +1.917.777.2498
colm.mcinerney@skadden.com




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Further information about the firm, a list of the Partners and their professional qualifications will be
provided upon request.

==============================================================================

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Further information about the firm, a list of the Partners and their professional qualifications will be
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==============================================================================




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